      Case 1:19-cv-00074-DLH-CRH Document 46 Filed 01/11/21 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

Mark Bowen,                                   )
                                              )
               Plaintiff,                     )       ORDER
                                              )
       vs.                                    )
                                              )
Pioneer Drilling Services, LTD, and           )       Case No. 1:19-cv-074
Whiting Owl and Gas Corporation,              )
                                              )
               Defendants.                    )


       On April 8, 2020, Defendant Whiting Oil and Gas Corporation filed a"Suggestion of

Bankruptcy . . . and Notice of Automatic Stay of Proceedings." (Doc. No. 30). On April 17, 2020,

Defendant Pioneer Drilling Services, LTD filed a "Notice of Suggestion of Bankruptcy and

Automatic Stay." (Doc. No. 31). Consequently, on April 21, 2020, the Court issued an order

staying this action pending resolution of the bankruptcy proceedings. (Doc. No. 32).

       On July 9, 2020, the parties filed a Joint Notice of Resolution of Bankruptcy Stay. (Doc. No.

32). Therein they advised that the Bankruptcy Stay for both defendants had been resolved as it

relates to this action. (Id.). Accordingly, the Court lifts the stay that it had previously imposed.

       IT IS SO ORDERED.

       Dated this 11th day of January, 2021.

                                              /s/ Clare R. Hochhalter
                                              Clare R. Hochhalter, Magistrate Judge
                                              United States District Court
